
Beer, J.
The allegations of the petition show that the tax in question was assessed against plaintiff, and certified to the treasurer by the township trustees, and entered on the tax duplicate under an order of the trustees, founded on the petition of Jacob Kinsey to clean out a ditch, a portion of which ran through plaintiff’s premises; that the ditch so far as it ran on plaintiff’s premises had recently been cleaned out by plaintiff’s grantor, and was, at the time the tax was levied and certified, open to its original capacity, and free of obstructions.
It is claimed by counsel for defendant, that plaintiff’s objection to the tax comes too late after the work has been done, and cites Kellogg v. Ely, 15 O. S., 64.
*76In the opinion of the court that decision does not reach this case.
Under a petition to clean out a ditch, the trustees had no power to make an order for a new ditch, or to deepen and widen one already constructed.
The court below, therefore, erred in sustaining the demurrer.
Judgment reversed and cause remanded.
Moore and Seney, JJ., concur.
